           Case 1:24-cr-00265-TNM             Document 110-1           Filed 01/29/25   Page 1 of 4


                                                 Monday,
                                                 Monday, January
                                                         January 27,
                                                                 27, 2025
                                                                     2025 at
                                                                          at 15:53:36
                                                                             15:53:36 Eastern
                                                                                      Eastern Standard
                                                                                              Standard Time
                                                                                                       Time

Subject:
Subject:       RE: ECF No. 72
Date:
Date:          Friday, January 3, 2025 at 11:55:45 AM Eastern Standard Time
From:
From:          Fiﬁeld, Kathryn (CRM)
To:
To:            Timothy Parlatore, Esq.
CC:
CC:          Wilmot, Trevor (CRM), Ross, Rebecca (USADC)
Attachments:
Attachments: image001.jpg, image002.jpg


Thank you, Tim, for this information. Based on your representations, we are withdrawing our request that
you withdraw and refile and retract our position regarding a violation of the Protective Order.

--
Kathryn (Kate) Fifield
(202) 320-0048

From:
From: Timothy Parlatore, Esq. <6mothy.parlatore@parlatorelawgroup.com>
Sent:
Sent: Thursday, January 2, 2025 7:52 PM
To:
To: Fiﬁeld, Kathryn (CRM) <Kathryn.Fiﬁeld@usdoj.gov>
Cc:
Cc: Wilmot, Trevor (CRM) <Trevor.Wilmot@usdoj.gov>; Ross, Rebecca (USADC) <RROSS2@usa.doj.gov>
Subject:
Subject: [EXTERNAL] Re: ECF No. 72

Here is the internet copy.




https://lcardapp.com/lcard/timothy.parlatore-51814
        Case 1:24-cr-00265-TNM          Document 110-1       Filed 01/29/25     Page 2 of 4




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dissemination, distribution, or copying of this communication is strictly prohibited. If you have
received the message in error, please reply to notify the sender and then delete the message. Thank
you.


From:
From: Timothy Parlatore, Esq. <6mothy.parlatore@parlatorelawgroup.com>
Sent:
Sent: Thursday, January 2, 2025 7:46:07 PM
To:
To: Fiﬁeld, Kathryn (CRM) <Kathryn.Fiﬁeld@usdoj.gov>
Cc:
Cc: Wilmot, Trevor (CRM) <Trevor.Wilmot@usdoj.gov>; Ross, Rebecca (USADC)
<REBECCA.ROSS2@usdoj.gov>
Subject:
Subject: Re: ECF No. 72

Please let me know what portions you think are problematic.

If it's information from the Virginia Court Order, I had that well before the Protective Order was
put in place. That only took a simple google search of her name to ﬁnd.

If it's from a diaerent document, I'm happy to review it.
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you.


From:
From: Fiﬁeld, Kathryn (CRM) <Kathryn.Fiﬁeld@usdoj.gov>
Sent:
Sent: Thursday, January 2, 2025 7:08 PM
To:
To: Timothy Parlatore, Esq. <6mothy.parlatore@parlatorelawgroup.com>
Cc:
Cc: Wilmot, Trevor (CRM) <Trevor.Wilmot@usdoj.gov>; Ross, Rebecca (USADC)
<REBECCA.ROSS2@usdoj.gov>
Subject:
Subject: ECF No. 72

Hi Tim,

We’re reaching out regarding your motion to suppress, ECF No. 72. We believe that this filing, which is
publicly visible and unredacted, violates the Protective Order in this case. Your motion quotes substantially
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from records provided to you in discovery that were as designated “Sensitive” pursuant to the Protective
Order. Further, the Protective Order specifically identifies “Sealed court documents and records” and
“Information related to a minor child” as categories of “Sensitive materials.” See ECF No. 47 (Second
Amended Protective Order) at ¶¶4.j. and 4.k. Under the Protective Order, “[n]o sensitive materials, or
the information contained therein, may be disclosed to any persons other than … ‘authorized persons.’” Id.
at ¶5 (emphasis added). “Authorized persons” does not include the general public. Id.

We ask that you withdraw ECF No. 72 and either file it again under seal or file a copy that redacts any
information that came from Sensitive materials, including sealed court records and NCIS investigative files.
Please confirm whether and when you will do this so that we may determine whether to seek relief with the
Court pursuant to the Protective Order.

Respectfully,

Kathryn E. Fifield
Trial Attorney, Public Integrity Section
U.S. Department of Justice
1301 New York Ave. NW, Suite 1000
Washington D.C. 20530
(202) 320-0048
